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 8                       UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
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11   WAJIH AJIB,                                  Case No. 1:13-cv-01451-LJO-SAB

12                     Plaintiff,                 ORDER ADOPTING FINDINGS AND
                                                  RECOMMENDATIONS AND DISMISSING
13          v.                                    CERTAIN CLAIMS AND DENYING
                                                  PLAINTIFF’S REQUEST FOR INJUNCTIVE
14   FINANCIAL ASSISTANCE, INC., et al.,          RELIEF

15                     Defendants.                (ECF No. 4)

16                                                THIRTY-DAY DEADLINE

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            Plaintiff Wajih Ajib, appearing pro se and in forma pauperis, filed this action on
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     September 11, 2013. (ECF No. 1.) The matter was referred to a United States Magistrate Judge
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     pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.
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            On October 8, 2013, the Magistrate Judge filed a Findings and Recommendations which
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     was served on Plaintiff and which contained notice that any objections to the Findings and
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     Recommendations were to be filed within fourteen days. Plaintiff has not filed timely objections
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     to the Findings and Recommendations.
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            In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C), this Court has conducted a
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     de novo review of this case. Having carefully reviewed the entire file, the Court finds the
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     Findings and Recommendations to be supported by the record and by proper analysis.
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            Accordingly, IT IS HEREBY ORDERED that:
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 1        1.    The Findings and Recommendations, filed October 8, 2013, is adopted in full;

 2        2.    Plaintiff’s complaint, filed September 11, 2013, is DISMISSED with leave to

 3              amend for failure to state a claim upon which relief may be granted;

 4        3.    Plaintiff’s claim alleging violation of the Fair Trade Commission Act is

 5              DISMISSED without leave to amend;

 6        4.    Plaintiff’s request for injunctive relief under the Fair Debt Collection Practices Act

 7              is DENIED without leave to amend;

 8        5.    Plaintiff shall file an amended complaint within thirty days from the date of

 9              service of this order;

10        6.    If Plaintiff fails to file an amended complaint in compliance with this order this

11              action shall be dismissed for failure to comply with a court order; and

12        7.    This action is referred to the magistrate judge for further proceedings.

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     IT IS SO ORDERED.
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15     Dated:   October 28, 2013                         /s/ Lawrence J. O’Neill
                                                      UNITED STATES DISTRICT JUDGE
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